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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

HORSEHEAD HOLDING CORP., et al.,’ Case No. 16-10287 (CSS)

Debtors. Jointly Administered

ee

Re: Docket No. 1758

 

 

 

ORDER (A) GRANTING LIMITED RELIEF
FROM THE AUTOMATIC STAY TO PERMIT ADVANCEMENT OF
DEFENSE EXPENSES UNDER INSURANCE POLICY, AND (B) GRANTING
RELATED RELIEF

 

 

Upon the motion (the “Motion”)’ of above-captioned debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order, pursuant to sections 105(a) and 362(d)(1) of

 

the Bankruptcy Code regarding the advancement of defense expenses under an insurance policy
notwithstanding the automatic stay or the Plan Injunction, as applicable; all as more fully set
forth in the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§
157 and 1334 and the Amended Standing Order of Reference from the United States District
Court for the District of Delaware, dated February 29, 2012; and this Court having found that
this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final
order consistent with Article III of the United States Constitution; and this Court having found
that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Motion is in the best

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Horsehead Holding Corp. (7377); Horsehead Corporation (7346); Horsehead Metal Products,
LLC (6504), The International Metals Reclamation Company, LLC (8892); and Zochem Inc. (4475).
The Debtors’ principal offices are located at 4955 Steubenville Pike, Suite 405, Pittsburgh, Pennsylvania 15205,

Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Motion.

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interests of the Debtors’ estates, their creditors, and other parties in interest; and this Court
having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion
were appropriate and no other notice need be provided; and this Court having reviewed the
Motion and having heard the statements in support of the relief requested therein at a hearing
before this Court (the “Hearing”); and this Court having determined that the legal and factual
bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;
and upon all of the proceedings had before this Court; and after due deliberation and sufficient
cause appearing therefor, it is HEREBY ORDERED THAT:

1. The Motion is granted as set forth herein.

2. Notwithstanding section 362 of the Bankruptcy Code or the Plan Injunction, to
the extent applicable, the Carrier, subject to its prior reservations of rights, is hereby authorized
to make payments under the Policy for the reasonable and necessary Defense Expenses incurred
by the Securities Defendants in connection with the Securities Actions.

3. The Debtors are authorized to take all actions necessary to effectuate the relief
granted in this Order in accordance with the Motion.

4, This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.

Dated: fof , 2016 (;

Wilmington, Delaware The’ Honorable Christopher S. Sontchi
United States Bankruptcy Judge

 

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